                                                      Case 2:21-cv-05350-PD Document 1 Filed 12/07/21 Page 1 of 27
 JS 44 (Rev. 10/20)                                                                                               CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. 111is fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INS77WC710NS ON NEXT l'AGH OF '/11/S FOIIM.)
 I. (a) PLAINTIFFS                                                                                                                                                      DEFENDANTS
                                                                                                                                                                        Southeastern Pennsylvania Transportation Authority
                 Alvin Tyler                                                                                                                                                       and                                                                              and
                                                                                                                                                                        Christopher Stokes                                                                       Thomas Nestel
       {b) County of Residence of First Listed Plaintiff       Philadelphia                                                                                             County of Residence of First Listed Defendant           Philadelphia
                             (HXCEPT IN U.S. Pl.A/NT/FF CASES)                                                                                                                                 (IN U.S. l'/,AIN71FF CASES ONLY)
                                                                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                                Tl-IE TRACT OF LAND INVOLVED.

       ( C) Attorncys (Fr
                        i m Nam(!, Address. and Telephone Number)                                                                                                        Attorneys (I/ Known)
                Aaron J. Freiwald, Esquire   Freiwald Law, P.C.
                Laura E. Laughlin, Esquire   1500 Walnut Street, 18th Floor
                Zachary S. Feinberg, Esquire Philadelphia, PA 19102         (215) 875-8000

 II.     BASIS OF JURISDICTION (Pln,·enn                                                    ")(" 1
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                                                                                                    1  BoxO11/y)                                  Ill. CITIZENSHIP OF PRINCIPAL PARTIES(P/nceo11 ")("i11O11e/Joxof rl'lo1
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 IV. NATURE OF SUIT (Pince 011" )"
                                 ( 111011c Box Only)                                                                                                                                                          Click here for: Nature of Suit Code Descri tions.
          CONTRACT                                                                                TORTS                                                      FORFE ITURE/PENALTY                                      BANKRUPTCY                OTHER STA'rUTES
  I IO Insurance                                                            PERSONAL INJURY                                      PERSONAL INJURY             625 Dn,g Related Seizure                             422 Appeal 28 USC 158      375 False Claims Act
  120 Marine                                                                310 AiJl}lanc               D                       365 Personal Injury -            ofProperty 21 USC 881                            423 Withdrawal             376 Qui Tam (31 USC
� 130 Miller Act                                                            315 Airp lane Product                                          Product Liability 690 O1hcr                                                 28 USC 157                 3729(a))
  140 Negotiable lnstmmcnt                                                          Liability           O                       367 Health Care/                                                                                             400 S1a1e Rcappo11ionmcn1
  150 Recovery ofO1'erpaymenl                                               320 Assault, Libel &                                          Phannaccutical                                                         l'R PERTY R IGHTS           4 IO An1i1n1st
       & Enforcement ofJudgment                                                     Slander                                               Personal Injury                                                         820 Copyrights             430 Banks and Banking
0 151 Medicare Act                                                          330 Federal Employers'
                                                                                                        D                                 Product Liability                                                       830 Patent                 450 Commerce
0 152 Reco,•ery ofDefaulted                                                         Liability                                   368 Asbestos Personal                                                             835 Patent - Abbreviated   460 Deportation
        Student Loans                                                       340 Marine                                                     InjuryProdncl                                                               New Dmg Application   470 Racke1ecr ln0uenced and

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        (Excludes Vc1crans)                                                 345 Marine Product                                             Liability                                                              840 Trademark                   Com1p1 Organiz.ations
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       ofVeteran's Benefits                                                 350 Motor Vehicle           D                       370 Other Fraud                                          710 Fair Labor S1andnrds      Act of2016                  (15 USC 1681 or 1692)
0 160 Stockholders' Sui1s                                                   355 Motor Vehicle           D                       371 Tm1h in Lending                                          ,\cl                                            485 Telephone Consumer
0 190 O1her Con1rnc1                                                               Product Liability    O                       380 Other Personal                                       720 Laborllvt:111agcmcn1   SOGIAL SECURITY               Protection Act
0 195 Contract Procluc1 Liability                                           360 Other Personal                                            Prope11y Damage                                    Relations            86 I HIA (139511)          490 Cable/Sa, TV
D 196 Franchise                                                                    Injury               O                       385 Property Damage                                      740 Railway Labor Acl     862 Black Lung (923)      850 Securi1ies/Co1111nodities/
                                                                            362 Personal Injury -                                         Product Liability                              751 Family and Medical    863 DIWC/DIWW (405(g))          Exchnugc
                                                                                   Medical Malpractice                                                                                       Leave Act            864 SSID Title XVI         890 O1hcr Sta1111ory Ac1ions
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    210 Land Condcmna1ion                                                 x 440 O1hcr Civil Rights                              Habeas Corpus:                                           791 Employee Rc1iremcn1                             893 Environmental Matters
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    220 Foreclosure                                                         441 Voling                                          463 Alien Detainee                                           Income Security Acl                             895 Freedom of lnfonna1ion
    230 Rent Lease & Ejcctmcnt                                              442 Employment                                      5 IO Motions to Vacate                                                             870 Taxes (U.S. PlaintifT      Ac1
    240 Torts lo Land                                                       443 1-lonsing/                                                Sentence                                                                     or Defendam)          896 Arbitration
    245 Tort Product Liability                                                     Accommodations                               530 General                                                                       871 IRS-TI,ird Party       899 Administrative Procedure
0   290 All Other Real Property                                             445 Amer. w/Disabilitics -                          535 Dca1h Penally                                                                       26 USC 7609               Act/Rcl'icw or Appeal of
                                                                                   Employment                                   Other:                                                                                                            Agency Decision
                                                                            446 Amer. w/Disabilities -                          540 Mandamus & Other                                                                                         950 Constitutionality of
                                                                                   Other                                        550 Civil Rights                                                                                                  Sintc Statutes
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                                                                                                                                                                                                (specify)                                   Transfer                      Direct File
                                                                Cite the U.S. Civil Statute under which you are filing (Do 1101 citej11ri.l'llictimrnl s111111tcs 1111/e.,c, divcr,·ity):
                        - 42- U.S.C.
                                 ---    § 1983
                                             ---- ------------------------
 VI. CAUSE OF ACTION f--
                     Brief description of cause:
                                                                          Unjustified and excessive use of force.
 VII. REQUESTED IN    0 CHECK IF THIS IS A CLASS ACTION DEMANDS       CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER RULE 23 , F.R.Cv.P.                    JURY DEMAND:         x
                                                                                           OYes      ONo

 VIII. RELATED CASE(S)
       IF ANY          (Sec i11s1ructio,1J�:
                                             JUDGE _______________ DOCKET NUMBER
 DATE                                                                                                         SIGNATURE OF ATfORNEY OF RECORD
                 12/7/2021
 FOR OFFICE USE ONLY
     RECEIPT#                                      AMOUNT                                                            APPLYING IFP                                                           JUDGE                                             MAG.JUDGE
               Case 2:21-cv-05350-PD Document 1 Filed 12/07/21 Page 2 of 27




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM

ALVIN TYLER                                  :       CIVIL ACTION
          v.                                 :
SOUTHEASTERN PENNSYLVANIA                    :       NO.
TRANSPORTATION AUTHORITY                     :
and                                          :
CHRISTOPHER STOKES                           :
and                                          :
THOMAS NESTEL                                :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time
of filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on
the reverse side of this form.) In the event that a defendant does not agree with the plaintiff
regarding said designation, that defendant shall, with its first appearance, submit to the clerk of
court and serve on the plaintiff and all other parties, a Case Management Track Designation
Form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                       ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                             ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                      ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                         ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.             (X)

        12/7/2021             Aaron J. Freiwald
Date                          Attorney-at-law                      Attorney for Plaintiffs

  (215) 875-8000               (215) 875-8575                       ajf@freiwaldlaw.com
Telephone                          FAX Number                          E-Mail Address
(Civ. 660) 10/02
                              Case 2:21-cv-05350-PD
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   12/07/21 Page 3 of 27
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                       5234 North Sydenham Street, Philadelphia, PA 19141
Address of Plaintiff: ______________________________________________________________________________________________
                                            1234 Market Street, Philadelphia, PA 19107
Address of Defendant: ____________________________________________________________________________________________
                                                       8000 Essington Avenue, Philadelphia, PA 19153
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      12/07/2021
DATE: __________________________________                     ______________________________                                            78028
                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): ______
                                                                                                                                               _____BBBBBBBBBBBBB___
✔      7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

             Aaron J. Freiwald
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:


     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


      12/07/2021
DATE: __________________________________                     __________________________                                             78028
                                                                                                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
             Case 2:21-cv-05350-PD Document 1 Filed 12/07/21 Page 4 of 27




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALVIN TYLER                                      CIVIL ACTION
5234 North Sydenham Street
Philadelphia, PA 19141                           NO.

       v.

SOUTHEASTERN PENNSYLVANIA                        JURY TRIAL DEMANDED
TRANSPORTATION AUTHORITY
1234 Market Street
Philadelphia, PA 19107
       and
CHRISTOPHER STOKES, Individually, and
as an Agent of SOUTHEASTERN
PENNSYLVANIA TRANSPORTATION
AUTHORITY
1234 Market Street
Philadelphia, PA 19107
       and
THOMAS NESTEL, Individually, and as an
Agent of SOUTHEASTERN
PENNSYLVANIA TRANSPORTATION
AUTHORITY
1234 Market Street
Philadelphia, PA 19107

I.     INTRODUCTION

       On May 11, 2021, Plaintiff Alvin Tyler was attempting to board a SEPTA Night Owl

shuttle on his way to work, just as he had done every work day for the previous two and half

years. However, on this day, Mr. Tyler was not able to make it to work. As he was waiting to

board the SEPTA shuttle, Defendant Christopher Stokes, a police officer employed by the

SEPTA Transit Police, unprovoked and without warning, shoved Mr. Tyler to the ground twice.

Defendant Stokes shoved Mr. Tyler with significant enough force that Mr. Tyler’s wrist was

fractured when he hit the ground. The force used by Defendant Stokes was unjustified and

excessive.
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       Defendant SEPTA claims on its website that the SEPTA Transit Police are “dedicated to

keeping customers safe and secure.” The actions in this case were a complete departure from

this commitment and represent a departure from any acceptable standard of police conduct.

Further, Defendant SEPTA had previously received multiple complaints regarding Defendant

Stokes, yet failed to ensure that he was properly trained or to take other remedial action to ensure

this outrageous event did not occur.

II.    PARTIES

       1.      Plaintiff Alvin Tyler is an adult individual residing at 5234 N. Sydenham Street,

Philadelphia, Pennsylvania 19141.

       2.      Defendant Southeastern Pennsylvania Transportation Authority (“SEPTA”) is

municipal entity operating under the laws of the Commonwealth of Pennsylvania with its

principal place of business located at 1234 Market Street, Philadelphia, Pennsylvania 19107.

       3.      Defendant SEPTA provides public transportation services within the Philadelphia

metropolitan area. In support of its services, Defendant SEPTA maintains its own police

department, the SEPTA Transit Police.

       4.      With over 260 police officers, the SEPTA Transit Police is the fifth (5th) largest

police department in the Commonwealth of Pennsylvania.

       5.      At all relevant times, Defendant SEPTA acted by and through its employees,

servants and/or agents as a municipal entity operating the SEPTA Transit Police and was the

employer of the SEPTA Transit Police employees.

       6.      Defendant SEPTA Transit Police Officer Christopher Stokes (“Officer Stokes”),

Badge No. 445, was at all relevant times a police officer employed by the SEPTA Transit Police.

It is believed that Officer Stokes is a Pennsylvania resident, although his address is unknown to




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Plaintiff. Officer Stokes is being named in an individual capacity and in his official capacity as a

SEPTA Transit Police Officer.

       7.      Defendant Police Chief Thomas Nestel was at all relevant times Chief of the

SEPTA Transit Police and was an adult individual with supervisory control over the Police

Officers in the Police Department. It is believed that Chief Nestel is a Pennsylvania resident,

although his address is unknown to Plaintiff. Chief Nestel is being named in an individual

capacity and in his official capacity as a SEPTA Transit Police Chief.

       8.      At all relevant times, Defendants SEPTA and Chief Nestel had the responsibility

of managing its officers and employees, training, discipline and setting official policy for the

SEPTA Transit Police Department, including its employees, and was responsible for the

excessive force used upon Plaintiff.

       9.      At all relevant times, the Defendants acted by and through their actual or apparent

employees, servants and/or agents, including but not limited to Officer Stokes, who was in the

course and scope of his actual or apparent employment, service and/or agency with all other

Defendants.

       10.     At all relevant times, Defendants SEPTA, Officer Stokes, and Chief Nestel were

acting under color of state law and had the responsibility of observing and protecting the

constitutional rights of Alvin Tyler.

III.   JURISDICTION

       11.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331, also

known as federal question jurisdiction.

       12.     Specifically, Plaintiff has brought this action under 42 U.S.C. §1983 because

Defendants Officer Stokes and SEPTA used excessive force against Plaintiff and Defendants




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          Case 2:21-cv-05350-PD Document 1 Filed 12/07/21 Page 7 of 27




SEPTA and Chief Nestel failed to maintain proper policies, procedures, and training to prevent

the use of such excessive force.

       13.     Further, this Court has supplemental jurisdiction over the state common law

claims, pursuant to 28 U.S.C. § 1367.

       14.     Venue is proper, pursuant to 28 U.S.C. § 1391(b), because the events or omissions

giving raise to Plaintiff’s constitutional and common law claims occurred in this District.

IV.    FACTS

       15.     Plaintiff Alvin Tyler began work every day at 4:00 am at Philadelphia Wholesale

Produce Market.

       16.     Plaintiff worked this job for approximately two and a half years and supported his

fiancé and children through this job.

       17.     As he had done almost every day for the last two and a half years, on May 11,

2021, Plaintiff arrived at the 69th Street Transportation Center, dressed in his full work uniform,

to catch the 3:15 am Night Owl shuttle service.

       18.     Like every other night he worked, Plaintiff planned to take the Night Owl shuttle

to the 56th Street and Market Street stop, before transferring to the G bus.

       19.     That evening, while waiting for the Night Owl shuttle to start boarding, Plaintiff

was smoking a marijuana cigarette.

       20.     Plaintiff is a medical marijuana patient and legally possesses a Pennsylvania

medical marijuana card for his diagnosis of post-traumatic stress disorder (“PTSD”) and chronic

nerve pain.

       21.     As a medical marijuana patient, it is legal for Plaintiff to possess marijuana in

public in Pennsylvania.




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        22.      Further, the Upper Darby city council has decriminalized marijuana possession

and use, such that a police officer may not ordinarily arrest or use any force against a citizen for

possessing or smoking a small amount of marijuana.

        23.      As Plaintiff’s turn in line to board the shuttle was approaching, a SEPTA Transit

Police officer asked Plaintiff to put out his cigarette.

        24.      Plaintiff complied with the SEPTA Transit Police officer’s request, put his

cigarette out, and placed the unfinished portion of the cigarette back in his cigarette box.

        25.      However, while Plaintiff was complying with the first SEPTA Transit Police

officer’s request, a second SEPTA Transit Police officer, Defendant Stokes, without any warning

or explanation, forcefully shoved Plaintiff from the right side, causing him to fall to the ground.

        26.      Plaintiff did not see or anticipate Defendant Stokes charging toward him and was

unable to brace himself for the impact.

        27.      Defendant Stokes used both of his hands when he shoved Plaintiff to the ground.

        28.      Defendant Stokes shoved Plaintiff to the ground with such force that Defendant

caused Plaintiff’s body to slam onto the concrete pavement, with his head and right wrist taking

the brunt of the fall.

        29.      Defendant Stokes did not say anything to Plaintiff before shoving Plaintiff to the

ground.

        30.      Defendant Stokes did not provide any warning to Plaintiff before shoving Plaintiff

to the ground.

        31.      Defendant Stokes did not attempt to use any lesser means of force before shoving

Plaintiff to the ground.




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       32.        Defendant Stokes did not provide any justification for shoving Plaintiff to the

ground – and had no justification.

       33.        Defendant Stokes used excessive force in shoving Plaintiff to the ground.

       34.        As Plaintiff attempted to stand up after being forcefully shoved to the ground,

Defendant Stokes used excessive force in shoving Plaintiff to the ground for a second time.

       35.        Again, Defendant Stokes did not say anything, provide any warning, or provide

any justification to Plaintiff before shoving him to the ground a second time.

       36.        Confused and hurt after being forcibly shoved to the ground two times without

any justification, Plaintiff stood up and attempted to start filming Defendant Stokes’ actions. At

this point, additional SEPTA Transit Police officers intervened and separated Defendant Stokes

from Plaintiff.

       37.        Defendant Stokes’ excessive force in shoving Plaintiff to the ground twice, caused

serious injury to Plaintiff’s wrist and head.

       38.        Despite injuries to Plaintiff’s right wrist and head, none of the SEPTA Transit

Police officers present at the scene asked Plaintiff if he needed medical assistance or offered to

provide any help.

       39.        Rather, the SEPTA Transit Police officers present ordered Plaintiff to leave the

property and threatened to arrest him for trespassing.

       40.        At no point did Defendant Stokes or any of the present SEPTA Transit Police

officers arrest Plaintiff or issue any citation against him for committing a crime or otherwise

violating the law.

       41.        Plaintiff called 911 for emergency assistance after he was assaulted by Defendant

Stokes. When Upper Darby police officers arrived at the scene, the Upper Darby police officers




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          Case 2:21-cv-05350-PD Document 1 Filed 12/07/21 Page 10 of 27




declined to intervene with the SEPTA Transit Police officers or assist Plaintiff since the station

was SEPTA’s jurisdiction.

       42.     Plaintiff called his fiancé to pick him up and take him to the hospital.

       43.     While at Delaware County Memorial Hospital, Plaintiff underwent a CT scan of

his cervical spine and his head. Plaintiff was also diagnosed with a sprain and strain of his wrist

and was given a sling for his right arm and wrist. Plaintiff was instructed to follow-up with an

orthopedic specialist.

       44.     On May 21, 2021, Plaintiff was examined by Dr. Hannah Lee at Penn

Musculoskeletal Center. Dr. Lee conducted x-rays of Plaintiff’s wrist and diagnosed him with

either a chipped bone and/or hairline fracture of his right wrist.

       45.     On June 7, 2021, Plaintiff underwent a CT scan and a repeat x-ray. The x-ray

revealed that Plaintiff suffered from:

               a.        mildly displaced fracture fragment along the dorsal radius with
                         surrounding soft tissue swelling;

               b.        focal subchondral cystic changes along the distal radius;

               c.        nonspecific cystic changes of the carpus; and

               d.        sclerotic foci of the distal radius at first metacarpal base, which may
                         represent bone islands.

       46.     The CT scan from June 7, 2021 revealed that Plaintiff suffered from an intra-

articular fracture of the distal radius dorsally with a fragment displaced dorsally about 3 mm and

several smaller comminuted fragments and that most of the fracture appeared ununited,

indicating that the bone would likely have difficulty healing.

       47.     A follow up CT scan on July 16, 2021 revealed that Plaintiff’s fracture was

largely unchanged.




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       48.      Following the incident, Plaintiff has been required to work in a light duty

capacity.

       49.      As a result of Defendants’ negligent, reckless, and outrageous conduct, Plaintiff

was caused to suffer:

                a.      physical injuries;

                b.      fracture of his right wrist;

                c.      head injury;

                d.      headaches;

                e.      increased risk of harm;

                f.      past and future medical expenses;

                g.      economic damages;

                h.      loss of income;

                i.      emotional distress;

                j.      mental anguish;

                k.      pain and suffering;

                l.      loss of life’s pleasures; and

                m.      humiliation and embarrassment.

       50.      The assault by Defendant Stokes was captured on his and/or other SEPTA Transit

Police Officer’s body cameras. Plaintiff requested the view the body camera footage, but the

SEPTA Transit Police denied Plaintiff’s request.

       51.      Upon routine examination of body camera footage, the SEPTA Transit Police

independently opened an internal investigation into Defendant Stokes’ excessive force.




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          Case 2:21-cv-05350-PD Document 1 Filed 12/07/21 Page 12 of 27




        52.      Further, Defendant SEPTA has received at least four (4) prior complaints filed

against Defendant Stokes, yet he has not received the training necessary to prevent incidents like

this.

        53.      Within approximately two (2) months, Defendant SEPTA has already permitted

Defendant Stokes to return to working in the same position, despite the fact that Defendant

SEPTA did not yet complete its investigation into the incident described in this Complaint.

V.      CLAIMS

                     COUNT I: 42 U.S.C. § 1983 EXCESSIVE FORCE
  Plaintiff v. Defendants Officer Stokes, Individually and in his Official Capacity, SEPTA,
                                     and Thomas Nestel

        54.      Plaintiff incorporates by reference all previous paragraphs as though fully set

forth here.

        55.      Defendant Stokes’ actions were wrongful, malicious, and reckless and deprived

Plaintiff of his constitutional rights, as alleged more fully below.

        56.      Defendant Stokes had a duty to avoid infliction of unjustified bodily injury to

Plaintiff, to protect his bodily integrity and to not violate his constitutional rights.

        57.      Defendant Stokes failed to act as an objectively reasonable officer would have

acted in the same or similar circumstances.

        58.      That is, Defendant Stokes, without justification and the need to do so, used

excessive force as described above when he shoved Plaintiff to the ground twice without legal

justification.

        59.      Plaintiff never made any threatening gestures towards Defendant Stokes or any

other officer, did not fail to comply with any directives of Defendant Stokes or any other officer,




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and did not pose an objective immediate threat to the safety of Defendant Stokes or others when

Defendant Stokes shoved Plaintiff to the ground twice.

        60.     Defendant Stokes was not provoked when he shoved Plaintiff for no lawful or

justifiable reason.

        61.     The excessive forced used by Defendant Stokes was not objectively reasonable,

justified, nor was it necessary under the circumstances.

        62.     Defendant Stokes denied Plaintiff of his right to be free from the use of excessive

force in violation of the Fourth and Fourteenth Amendments to the United States Constitution.

        63.     The force used by Defendant Stokes was objectively unnecessary, excessive and

unreasonable under the circumstances, as Plaintiff did not pose an immediate threat to the safety

of Defendant Stokes or others and the use of such excessive force was unnecessary.

        64.     Plaintiff’s injuries are the direct result of Defendants’ unreasonable conduct.

        65.     Defendant Stokes embarked on a willful, malicious, reckless and outrageous

course of conduct that was intended to cause and, in fact, caused Plaintiff to suffer extreme and

severe physical, mental and emotional distress, anxiety, terror and agony.

        WHEREFORE, Plaintiff demands judgment in his favor, and against Defendants, jointly

and severally, pursuant to 42 U.S.C. § 1983, in an amount in excess of One Hundred and Fifty

Thousand Dollars ($150,000.00), including interest, delay damages, costs of suit, general and

specific damages, exemplary damages as provided by law, attorney’s fees under U.S.C. 1985 and

1988, and any other damages legally appropriate at the time of jury trial.




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                      COUNT II: 42 U.S.C. § 1983 FAILURE TO TRAIN
                      Plaintiff v. Defendants SEPTA and Thomas Nestel

       66.     Plaintiff incorporates by reference all previous paragraphs as though fully set

forth here.

       67.     Defendant Stokes was acting under color of law and acting pursuant to customs,

practices, and policies of SEPTA in regards to the use of force as authorized and/or ratified by

Defendants, specifically SEPTA Transit Police Chief Thomas Nestel.

       68.     Defendant SEPTA, under the direction of Police Chief Nestel, developed and

maintained a policy of deficient training of its police force in the use of force.

       69.     Plaintiff was deprived of rights and privileges secured to him by the United States

Constitution and by other laws of the United States, by the SEPTA Transit Police failing to

provide proper training, adequate supervision or discipline in dealing with individuals such as

Plaintiff in violation of 42 U.S.C. § 1983 and related provisions of federal law and in violation of

the above cited constitutional provisions.

       70.     Prior to May 11, 2021, Defendants SEPTA and Chief Nestel knew or should have

known that Defendant Stokes exhibited a pattern of escalating encounters within the public.

       71.     In a verified statement, Defendant Chief Nestel acknowledged that Defendant

Stokes has had four (4) prior complaints submitted against him.

       72.     Defendants SEPTA and Chief Nestel failed to adequately train its officers in the

following manners:

               a.      Failure to train its officers on when to use force;

               b.      Failure to train its officers on how to use force;

               c.      Failure to train its officers on threat pattern recognition;

               d.      Failure to train its officers on de-escalation techniques;



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               e.      Failure to train its officers on how to interact with individuals as they were
                       boarding vehicles;

               f.       Failure to keep SEPTA customers safe;

               g.      Failure to protect SEPTA customers’ right to bodily integrity;

               h.      Failure to ensure SEPTA officers, including Defendant Stokes, was
                       properly trained;

               i.      Failure to respond appropriately to the four (4) prior complaints against
                       Defendant Stokes;
               j.      Failure to re-train Defendant Stokes following the four (4) prior
                       complaints;

               k.      Failure to remove Defendant Stokes from a position interacting with
                       SEPTA customers thereby putting the customers at an increased risk of
                       injury;

               l.      Failure to implement proper training and protocols for use of force;

       73.     Each of the above failures reflects a deliberate indifference by Defendants SEPTA

and Chief Nestel to the rights of SEPTA passengers, including Plaintiff, and is actionable under

42 U.S.C. § 1983.

       74.     Defendant SEPTA and Police Chief Nestel’s failure to provide adequate training

to its officers on how and when to use force reflect deliberate indifference by Defendants and

reckless and conscious disregard for the obvious risk that officers would use excessive force on

citizens and made the violations of Plaintiff’s constitutional rights foreseeable.

       75.     Defendant SEPTA and Chief Nestel’s decision to return Defendant Stokes to the

line of duty before an investigation into this incident was completed further reflects Defendants’

willingness to permit officers to work without adequate training.

       76.     Defendant Stokes’ actions were the result of, or within the scope of, wrongful and

reckless customs, policies, practices and/or procedures for which SEPTA and Police Chief Nestel

knew or should have known, but never provided the requisite and proper training.



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        77.     Defendant SEPTA’s failure to properly train and discipline its officers was the

proximate cause of the violations of Plaintiff’s constitutional rights.

        WHEREFORE, Plaintiff demands judgment in his favor, and against Defendants, jointly

and severally, pursuant to 42 U.S.C. § 1983, in an amount in excess of One Hundred and Fifty

Thousand Dollars ($150,000.00), including interest, delay damages, costs of suit, general and

specific damages, exemplary damages as provided by law, attorney’s fees under U.S.C. 1985 and

1988, and any other damages legally appropriate at the time of jury trial.

                     COUNT III: 42 U.S.C. § 1983 MUNICIPAL LIABILITY
                       UNCONSTITUTIONAL CUSTOM OR POLICY
                       Plaintiff v. Defendants SEPTA and Thomas Nestel

        78.     Plaintiff incorporates by reference all previous paragraphs as though fully set

forth here.

        79.     On May 11, 2021, Defendants SEPTA and Chief Nestel deprived Plaintiff of the

rights and liberties secure to him by the Fourth and Fourteenth Amendments to the United States

Constitution, by knowingly maintaining, enforcing and applying de facto customs, practices

and/or polices adopted and/or ratified by SEPTA and the SEPTA Transit Police, with reckless

and deliberate indifference to the rights and liberties of the public in general, and of Plaintiff

specifically.

        80.     Defendant Stokes acted under color of law.

        81.     Defendant Stokes acted pursuant to an expressly adopted official policy or a

longstanding practice or custom (e.g., a de facto policy) of Defendant SEPTA.

        82.     Defendants SEPTA and Stokes, together with the policymakers and supervisors,

maintained, inter alia, the following unconstitutional customs, practices, and policies:

                a.      Using any amount of force, when no force is justified;




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    b.   Using excessive force when no force is justified;

    c.   Using excessive force, when only a lesser amount of force is justified;

    d.   Using force that is inconsistent with the threat posed;

    e.   Failing to adequately train officers regarding the use of force;

    f.   Failing to adequately train officers regarding the de-escalation of force;

    g.   Failing to adequately train officers regarding using force against a non-
         threatening suspect;

    h.   Failing to adequately train officers regarding passengers boarding SEPTA
         buses;

    i.   Employing and retaining as Officers and other personnel, who Defendants
         SEPTA and Chief Nestel knew or reasonably should have known had
         dangerous propensities for abusing their authority and for mistreating
         citizens by failing to follow written SEPTA Transit Police policies and for
         using excessive force;

    j.   Inadequately supervising, training, controlling, assigning and disciplining
         SEPTA Transit Police officers and other SEPTA Transit Police personnel,
         including officers who Defendant SEPTA knew, or in the exercise of
         reasonable care, should have known had dangerous propensities and
         character traits;

    k.   Maintaining inadequate procedures for reporting, supervising,
         investigating, reviewing, disciplining and controlling the intentional
         misconduct by all officers, who are SEPTA officers;

    l.   Failing to adequately discipline SEPTA Transit Police officers for the
         above-referenced categories of misconduct, including “slaps on the wrist,”
         discipline that is so slight as to be out of proportion to the magnitude of
         the misconduct, and other inadequate discipline that is tantamount to
         encouraging misconduct;

    m.   Refusing to discipline, terminate, and/or retrain the officers involved, even
         where use of force was unjustified;

    n.   Encouraging, accommodating, or facilitating a “blue code of silence,”
         “blue shield,” “blue wall,” “blue curtain,” “blue veil,” or simple “code of
         silence,” pursuant to which officers do not report other officers’ errors,
         misconduct or crimes. Pursuant to this code of silence, if questioned about
         an incident of misconduct involving another officer, while following the



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                       code, the officer being questioned will claim ignorance of the other
                       officers’ wrongdoing;

               o.      Maintaining a policy of inaction and an attitude of indifference towards
                       soaring numbers of police use of force, including by failing to discipline,
                       retrain, investigate, terminate, and recommend officers for criminal
                       prosecution who participate in excessive use of force;

               p.      Having and maintaining an unconstitutional custom and practice of using
                       excessive force and covering up police misconduct. These customs and
                       practices by SEPTA were condoned by Defendants in deliberate
                       indifference to the safety and rights of its civilians, including Plaintiff;

               q.      Maintaining inadequate respect and relationships between SEPTA Transit
                       Police management and line-duty officers, such that Defendant SEPTA
                       was unable to effectively supervise, train, control, and discipline its
                       officers, including Defendant Stokes; and

               r.      Permitting officers to return to duty despite a failure to fully investigate
                       use-of-force incidents.

       83.     By reason of the above policies and practices of Defendant SEPTA, Plaintiff

experienced the injuries alleged throughout this Complaint.

       84.     Defendants SEPTA and Chief Nestel had either actual or constructive knowledge

of the inadequate and reckless polices, practices, and customs alleged above. Despite having

such knowledge, Defendants SEPTA and Chief Nestel condoned, tolerated and through actions

and inactions ratified such policies. Defendants SEPTA and Chief Nestel also acted with

deliberate indifference to both the foreseeable effects and consequences of these polices and to

the constitutional rights of Plaintiff, and other individuals similarly situated.

       85.     By perpetuating, sanctioning, tolerating, and ratifying the outrageous conduct and

other wrongful acts, Defendants SEPTA and Chief Nestel acted with an intentional, reckless,

callous disregard for the well-being of Plaintiff and his constitutional rights. Defendants SEPTA

and Chief Nestel’s actions were willful, wanton, oppressive, malicious, fraudulent, and

extremely offensive and unconscionable to any person of normal sensibilities.



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       86.     Defendant SEPTA, acting through official polices, practices, and customs, and

with deliberate, callous, and conscious indifference to the constitutional rights of Plaintiff failed

to implement and/or enforce the policies, procedures; and practices necessary to provide

constitutionally adequate protection and assistance to Plaintiff.

       87.     Furthermore, the polices, practices, and customs implemented, maintained and

tolerated by Defendant SEPTA, were affirmatively linked to, and were a significantly influential

force behind Plaintiff’s injuries.

       WHEREFORE, Plaintiff demands judgment in his favor, and against Defendants, jointly

and severally, pursuant to 42 U.S.C. § 1983, in an amount in excess of One Hundred and Fifty

Thousand Dollars ($150,000.00), including interest, delay damages, costs of suit, general and

specific damages, exemplary damages as provided by law, attorney’s fees under U.S.C. 1985 and

1988, and any other damages legally appropriate at the time of jury trial.

                        COUNT IV: 42 USC §1983 Supervisory Liability
                        Plaintiff v. Defendants SEPTA and Chief Nestel

       88.     Plaintiff incorporates by reference all previous paragraphs as though fully set

forth here.

       89.     Defendants were responsible for, acquiesced, and/or were deliberately indifferent

through policy, practice, customs, and/or procedure in failing to:

               a.      Restrain and punish the use of excessive force by its police officers;

               b.      Properly and adequately train, test, and instruct police officers on the
                       proper procedure for effectuating arrest and using force, and thereafter,
                       properly discipline the police officers who use excessive force;

               c.      Properly supervise and/or control their police officers;

               d.      Restrain the use of excessive force, and have clear, concise and
                       appropriate directives and consequences regarding the same;




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               e.      Conduct systematic and complete internal affairs investigations and
                       commanding officer investigations resulting in appropriate and
                       documented corrective actions, if necessary, at all levels of the SEPTA
                       Transit Police Department;

               f.      Develop, implement, carry out and maintain proper personnel training
                       policies, practices, customs and/or procedures necessary to prevent the use
                       of excessive force;

               g.      Permitting psychologically and/or emotionally unfit persons to serve as
                       police officers;

               h.      Permit unjustified, unreasonable, and illegal use of force by police officers
                       in general;

               i.      Test its officers for emotional and psychological fitness to serve as a
                       police officer;

               j.      Train its police officers in appropriate use of exercise of powers;

               k.      Properly train, supervise, and discipline officers;

               l.      Properly sanction or discipline police officers;

               m.      Monitor and evaluate performances of police officers;

               n.      Respond and investigate complaints against police officers;

               o.      Allowing police officers to engage in conduct that violates the
                       Constitutional rights of citizens;

               p.      Train police officers in use of lesser forms of restraint and force;

               q.      Have or enforce policies, which focus on de-escalation; and

               r.      Have proper training on de-escalation techniques.

       90.     The actions of Defendants, as described above, created an unreasonable risk of

harm as suffered by Plaintiff.

       91.     Defendants knew that this unreasonable risk existed.

       92.     Defendants were deliberately indifferent to the risk.




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         93.    Defendants’ failure to employ the above supervisory practices or procedures

resulted in Defendants’ violation of Plaintiff’s Constitutional rights.

         94.    Defendants violated a clearly established Constitutional right.

         95.    Defendants knew or reasonably should have known that their actions violated that

right.

         96.    The actions of Defendants as described above were willful, wanton, reckless,

callously indifferent, and in conscious disregard for the safety of others.

         97.    As a direct and proximate result of the above-described actions of Defendants,

Plaintiff sustained serious physical and emotional injuries described above.

         WHEREFORE, Plaintiff demands judgment in his favor against Defendants in an amount

in excess of One Hundred and Fifty Thousand Dollars ($150,000.00), together with punitive

damages, interest, costs, attorneys’ fees, and any additional relief the court deems appropriate.

                                COUNT V: Assault and Battery
                           Plaintiff v. Defendants Stokes and SEPTA

         98.    Plaintiff incorporates by reference all previous paragraphs as though fully set

forth here.

         99.    Defendant Stokes is directly liable for his assault and battery on Plaintiff.

         100.   At all relevant times, Defendant Stokes was acting within the course and scope of

his employment with SEPTA and Defendant SEPTA is vicariously liable for the conduct of

Defendant Stokes.

         101.   Defendants’ use of force and use of excessive force was intended to cause

harmful and/or offensive contact with Plaintiff.

         102.   Plaintiff was put in immediate apprehension of such contact.




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          103.   Harmful and/or offensive contact with Plaintiff, directly or indirectly resulted

from Defendants’ actions.

          104.   Defendants’ conduct was not authorized, justified or privileged.

          105.   Defendants committed intentional torts against Plaintiff as described above by

wrongful acts and/or unlawful violence, knowing their conduct was wrongful.

          106.   Defendants’ desire was to bring about the result or the result was substantially

certain to follow from Defendants’ actions.

          107.   The force used by Defendant Officer Stokes was unreasonable and excessive

under the circumstances and Defendants knew or should have known the force was unreasonable

and excessive.

          108.   Defendants SEPTA failed to properly train and supervise Defendants Officer

Stokes.

          109.   Defendant SEPTA directed and/or knew of and acquiesced to Defendant Stokes’

wrongful conduct.

          110.   The actions of Defendants were willful, wanton, reckless, callously indifferent

and in conscious disregard to the safety of others, including Plaintiff.

          111.   As a direct and proximate result of Defendants’ willful and wanton conduct,

Defendants are jointly and severally liable for the damages to Plaintiff.

          WHEREFORE, Plaintiff demands judgment in his favor against Defendants in an amount

in excess of One Hundred and Fifty Thousand Dollars ($150,000.00), together with punitive

damages, interest, costs, attorneys’ fees, and any additional relief the Court deems appropriate.

                                      COUNT VI: Negligence
                        Plaintiff v. Defendants Officer Stokes and SEPTA

          112.   Plaintiff incorporates by reference all previous paragraphs as though fully set



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forth here.

       113.    Defendants owed a duty to Plaintiff.

       114.    Defendants breached their duty to Plaintiff by using force that was excessive,

assaulting and battering him, failing to have appropriate policies and procedures in place and

failing to appropriately train in the appropriate use of force.

       115.    Due to the negligence of Defendants, Plaintiff suffered serious physical and

psychological injuries.

       116.    The negligence, carelessness, and recklessness of Defendants included:

               a.      Failing to properly assess the situation;

               b.      Failing to attempt to de-escalate the situation;

               c.      Failing to attempt to use a lesser means of force, including but not limited
                       to using no force;

               d.      Failing to exercise due care and/or act in a reasonable manner;

               e.      Failing to properly train regarding the use of force;

               f.      Failing to follow training regarding the use of force;

               g.      Failing to have and/or follow proper policies and procedures regarding the
                       use of force;

               h.      Failing to investigate the incident;

               i.      Failing to have and/or follow procedures regarding documentation of
                       incidents involving the use of force;

               j.      Failing to hire competent police officers;

               k.      Failing to screen police officers; and

               l.      Failing to discipline police officers.

       117.    As a direct and proximate result of the negligence of Defendants, Plaintiff

suffered serious physical and psychological injuries.



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        WHEREFORE, Plaintiff demands judgment in his favor against Defendants in an amount

in excess of One Hundred and Fifty Thousand Dollars ($150,000.00), together with punitive

damages, interest, costs, attorneys’ fees, and any additional relief the Court deems appropriate.

                   COUNT VII: Intentional Infliction of Emotional Distress
                       Plaintiff v. Defendants Officer Stokes and SEPTA
        118.    The preceding paragraphs are incorporated in full here as though set forth in their

entirety.

        119.    A claim for intentional infliction of emotional distress can be maintained where

the Defendants “by extreme and outrageous conduct intentionally or recklessly cause[d] severe

emotional distress.” Gray v. Hutzinger, 147 A.3d 924, 927 (Pa. Super. 2016) (internal quotation

marks and citations omitted).

        120.    Defendant Stokes’ conduct was extreme and outrageous by his decision to use

excessive force despite Plaintiff posing no threat whatsoever.

        121.    Defendant Stokes intentionally and/or recklessly caused the Plaintiff to suffer

severe emotional distress because Defendant Stokes knew or should have known that shoving a

citizen to the ground twice, despite no articulable threat, would cause severe emotional distress.

        122.    Defendant Stokes’ actions toward Plaintiff, in shoving him to the ground twice

with no justification or articulable threat, was outrageous character, goes beyond all possible

bounds of decency, and was atrocious and utterly intolerable in our civilized society.

        123.    Defendant Stokes’ actions toward Plaintiff have caused multiple physical impacts

and continues to cause severe emotional distress and anxiety with physical manifestations.

        WHEREFORE, Plaintiff demands judgment in his favor against Defendants in an amount

in excess of One Hundred and Fifty Thousand Dollars ($150,000.00), together with punitive

damages, interest, costs, attorneys’ fees, and any additional relief the Court deems appropriate.




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                   COUNT VIII: Negligent Infliction of Emotional Distress
                     Plaintiff v. Defendants Officer Stokes and SEPTA


        124.    The preceding paragraphs are incorporated in full here as though set forth in their

entirety.

        125.    In Pennsylvania, a cause of action for negligent infliction of emotional distress is

permitted in four factual scenarios: “(1) situations where the defendant had a contractual or

fiduciary duty toward the plaintiff; (2) the plaintiff was subjected to a physical impact; (3) the

plaintiff was in a zone of danger, thereby reasonably experiencing a fear of impending physical

injury; or (4) the plaintiff observed a tortious injury to a close relative.” Toney v. Chester County

Hosp., 961 A.2d 192, 197-98 (Pa. Super. 2008), aff'd, 36 A.3d 83 (Pa. 2011).

        126.    Defendants negligently caused severe emotional distress to Plaintiff by their

outrageous conduct as set forth in preceding paragraphs, including Defendant Stokes having

twice shoved Plaintiff to the ground without any justification for doing so.

        127.    Plaintiff has and continues to suffer physical manifestations of the severe

emotional distress he hase experienced due to Defendants’ negligence, recklessness and

outrageous conduct.

        128.    Defendants are liable for damages related to Plaintiff’s severe emotional distress.

        WHEREFORE, Plaintiff demands judgment in his favor against Defendants in an amount

in excess of One Hundred and Fifty Thousand Dollars ($150,000.00), together with punitive

damages, interest, costs, attorneys’ fees, and any additional relief the Court deems appropriate.




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                                            FREIWALD LAW, P.C.


                                   By:      _____________________________
                                            AARON J. FREIWALD, ESQUIRE
                                            LAURA E. LAUGHLIN, ESQUIRE
                                            ZACHARY S. FEINBERG, ESQUIRE
                                            Counsel for Plaintiff


Date: December 7, 2021




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                                                         VERIFICATION

                     I, Alvin Tyler, am Plaintiff in the foregoing action, hereby verify that the statements

            made in the foregoing Civil Action Complaint are true and correct to the best of my knowledge,

            information and/or belief. I understand that false statements hereunder made are subject to the

            penalties of 18 Pa. C.S. §4904 relating to unsworn falsifications to authorities.




                                                                   __________________________________
                                                                   ALVIN TYLER

            Date:    12/7/2021
